Case 2:02-cr-20118-SH|\/| Document 110 Filed 08/23/05 Page 1 of 2 Page|D 109

 

IN THE UNITED sTATES DIsTRIcT coURT HLED BY'"~ D~°~
FoR THE WESTERN DISTRICT oF TENNESSEE 05
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UNITED sTATEs oF AMERICA, u£%U§ uteTF??CTCOUT
11 r‘ -1-1 15111>113
vs. No. 02-20118~Ma
R.AUL JARA,
Defendant.

 

ORDER GRANTING MOTION TO CONTINUE RE-SENTENCING

 

Before the court is the August 19, 2005, motion by defendant
Raul Jara, to reset the re-sentencing hearing which was set on
August 24, 2005. Counsel for the government does not oppose the
resetting. For good cause shown, the motion is granted. The re»
sentencing hearing is reset to Friday, September 23, 2005, at
10:30 a.m.

lt is so ORDERED this 11Aday of AugustVOOB.

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 110 in
case 2:02-CR-20118 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

